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Attorney for Defendant Tarlochen Lasher




                              UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF CALIFORNIA



   UNITED STATES OF AMERICA ,                )   1:07-CR-00264-AWI
                                             )
                                             )
                 Plaintiff,                  )
                                             )
          vs.                                )
                                             )   STIPULATION AND ORDER
                                             )   SUBORDINATING PROPERTY
                                             )   BOND TO REFINANCING OF
   TARLOCHEN LASHER,                         )   EXISTING LOAN
                                             )
                                             )
                 Defendant.                  )
                                             )

                                             )




It is hereby stipulated by the parties hereto, by and through

their undersigned attorneys of record as follows:

On or about October 17, 2007, the above-named defendant was

granted pretrial release and a property bond in the amount of

$500,000 was posted on property located at 2639 Oro Dam

Boulevard, Oroville, CA 95963.             At that time, the court's
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interest was subordinate to an existing loan in the amount of

$850,000.

The owners of the property, Kulwinder S. Lally and Kuldeep K.

Lally now desire to refinance the existing loan in the same

amount, but on different terms.       The new loan, issued by Excell

National Bank, 9701 Wilshire Blvd., Beverly Hills, will not

effect the position of the government's security nor impair the

equity in the property.

Therefore, it is agreed that the government's interest will be

subordinated to the new loan in the same manner as with the

existing indebtedness.

This stipulation is entered into with the approval of Pretrial

Services Officer Jacob Scott.

            DATED:   October 23, 2008/s/        Carl M. Faller

                               CARL M. FALLER

                       Attorney for Defendant

                           Tarlochan Lasher




                         /s/    Karen A. Escobar

                           KAREN A. ESCOBAR

                           Attorney for the

                      United States of America
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                                    ORDER

     Pursuant to the above-stipulation, it is hereby ordered that

the property bond currently posted for the pretrial release of

Tarlochan Lasher, on property located at 2639 Oro Dam Blvd.,

Oroville, CA 95963, shall be subordinated to a refinance loan in

the amount of $850,000 issued by         Excell National Bank, 9701

Wilshire Blvd., Beverly Hills, CA 90212.          All other current terms

of the defendant's release are to remain the same.



IT IS SO ORDERED.

Dated:   October 28, 2008                /s/ Anthony W. Ishii
0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
